Case 9:17-cv-80495-KAM Document 430 Entered on FLSD Docket 08/23/2019 Page 1 of 2



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                       CASE NO. 9:17-CV-80495-MARRA-MATTHEWMAN


  CONSUMER FINANCIAL PROTECTION
  BUREAU,

                             Plaintiff,

  v.

  OCWEN FINANCIAL CORPORATION;
  OCWEN MORTGAGE SERVICING, INC.;
  and OCWEN LOAN SERVICING, LLC


                             Defendants.



    PLAINTIFF’S MOTION TO SEAL EXHIBITS TO OPPOSITION TO DEFENDANTS’
     MOTION TO REOPEN DISCOVERY AND TO COMPEL FACT DISCOVERY AND
                  INCORPORATED MEMORANDUM OF LAW

       Pursuant to L.R. 5.4(b), Plaintiff, the Bureau of Consumer Financial Protection (“Bureau”),
  seeks leave to file under seal certain portions of Plaintiff’s Opposition to Defendants’ Motion to
  Reopen Discovery and Compel Fact Discovery (“Opposition”) filed on August 23, 2019, and
  certain of its exhibits.
       In support of this motion, the Bureau states as follows:
  1. The Bureau plans to file Exhibits to its Opposition which contain transcript excerpts and
       correspondence between the parties which are confidential pursuant to the Protective Order
       in place in this action (ECF No. 51).
  2. The Bureau also plans to file its Opposition, which quotes the transcripts in certain portions.
  3. The Bureau seeks leave to file redacted copies of the Opposition and Exhibit 2, which is a
       letter from the Bureau to Defendants which mentions third-parties.
  4. The Bureau also seeks leave to file Exhibit 3, which contains transcript pages from
       depositions in this matter, entirely under seal.
Case 9:17-cv-80495-KAM Document 430 Entered on FLSD Docket 08/23/2019 Page 2 of 2



  5. The Bureau plans to provide Defendants and the Court with unredacted copies of the
     Opposition and exhibits.
  6. Defendants have no opposition to this motion.

     For the foregoing reasons, the Bureau respectfully requests that the Court grant leave to file
  under seal the portions of Exhibits 2 and 3 and portions of the Bureau’s Opposition that reference
  the information contained in those Exhibits and other information deemed confidential.

  Dated: August 23, 2019               Respectfully submitted,

                                       Attorneys for Plaintiff,
                                       CONSUMER FINANCIAL PROTECTION BUREAU

                                       JOHN C. WELLS
                                       Deputy Enforcement Director

                                       JAMES T. SUGARMAN
                                       Assistant Litigation Deputy

                                       /s/ Stephanie Brenowitz
                                       Stephanie Brenowitz
                                       E-mail: stephanie.brenowitz@cfpb.gov
                                       Phone: 202-435-9005

                                       Shirley Chiu           shirley.chiu@cfpb.gov
                                       Atur Desai             atur.desai@cfpb.gov
                                       Jean M. Healey         jean.healeydippold@cfpb.gov
                                       Jack Douglas Wilson    doug.wilson@cfpb.gov
                                       Tianna Baez            tianna.baez@cfpb.gov
                                       Erin Mary Kelly        erin.kelly@cfpb.gov
                                       Greg Nodler            greg.nodler@cfpb.gov
                                       Michael Posner         michael.posner@cfpb.gov
                                       Amanda Roberson        amanda.roberson@cfpb.gov
                                       James Savage           james.savage@cfpb.gov

                                       1700 G Street NW
                                       Washington, DC 20552
                                       Facsimile: (202) 435-7722




                                                  2
